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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

  In re:                                   §
                                           §     Chapter 11
  KrisJenn Ranch, LLC,                     §
                                           §
           Debtor                          §     Case No. 20-50805
                                           §
                                           §


  KrisJenn Ranch, LLC, KrisJenn Ranch,     §
  LLC–Series Uvalde Ranch, and KrisJenn    §
  Ranch, LLC–Series Pipeline ROW, as       §
  successors in interest to Black Duck     §
  Properties, LLC,                         §
                                           §     Adversary No. 20-05027
           Plaintiffs,                     §
                                           §
  v.                                       §
                                           §
  DMA Properties, Inc. and Longbranch      §
  Energy, LP,                              §
                                           §
           Defendants.                     §
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  DMA Properties, Inc.,                           §
                                                  §
         Cross-Plaintiff/Third-Party Plaintiff    §
                                                  §
  v.                                              §
                                                  §
  KrisJenn Ranch, LLC, KrisJenn Ranch,            §
  LLC–Series Uvalde Ranch, and KrisJenn           §          Adversary No. 20-05027
  Ranch, LLC–Series Pipeline ROW, Black           §
  Duck Properties, LLC, Larry Wright, and         §
  John Terrill,                                   §
                                                  §
         Cross-Defendants/Third-Party             §
         Defendants                               §
                                                  §

                                       PROPOSED ORDER

        On this day the Court considered Frank Daniel Moore’s Motion to Intervene. Having

 reviewed the parties’ briefing, the governing law, and the case file as a whole, the Court finds the

 motion is meritorious and should be granted.

        It is therefore ORDERED that Frank Daniel Moore’s Motion to Intervene is GRANTED.



                                                 ###
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 Order Prepared By:

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 Moore respectfully requests that the following parties (in addition to counsel listed above)
 receive copies of this order if signed:

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